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6
     Representing the United States of America
7
                             UNITED STATES DISTRICT COURT
8                                 DISTRICT OF NEVADA
                                         -oOo-
9
     UNITED STATES OF AMERICA,                       Case No.: 2:15-cr-00014-APG-VCF
10
                              Plaintiff,             GOVERNMENT’S RESPONSE IN
11                                                   OPPOSITION TO DEFENDANT
                   vs.                               QAZI’S MOTION TO DISMISS FOR
12                                                   LACK OF SUBJECT MATTER
     OMAR QAZI,                                      JURISDICTION [ECF No. 448]
13
                              Defendant.
14
             The United State of America, by and through DAYLE ELIESON, United States
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     Attorney, and ALEXANDRA MICHAEL and PATRICK BURNS, Assistant United
16
     States Attorneys, hereby respectfully submits this Government’s Response in Opposition
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     to Defendant Qazi’s Motion to Dismiss for Lack of Subject Matter Jurisdiction [ECF No.
18
     448].
19
                                    POINTS AND AUTHORITIES
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                              I.     Relevant Procedural Background
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             Defendant Omar Qazi (Qazi) is charged in a single count indictment with being a
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     felon in possession of a firearm on January 6, 2015. His DNA was recovered from the
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1    firearm and he gave a recorded statement confessing his guilt. Qazi is currently

2    scheduled to be tried on the one-count indictment in this case beginning on July 30, 2018.

3    On June 28, 2018, Qazi filed this motion styled, “Motion to Dismiss for Lack of Subject

4    Matter Jurisdiction.” ECF No. 448. The Government’s response in opposition follows.

5                                                       II.    Argument

6                  A. Qazi’s Motion is Untimely and Duplicative

7             Qazi’s Motions deadline, including Motions to Dismiss, was October 25, 2016.1

8    Qazi has not provided any reason let alone good cause for filing his Motion nearly twenty

9    (20) months after the deadline. Trial is currently set to commence on July 30, 2018 and

10   therefore any Motions filed at this point, especially Motions that have been previously

11   considered and ruled on by this Court, should be denied outright as untimely and as an

12   attempt to delay trial.

13                 B. Qazi’s Motion Has Already Been Litigated, Including to the Ninth
                      Circuit, and Should be Denied.
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              Qazi’s Motion is titled Motion to Dismiss for Lack of Subject Matter Jurisdiction
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     but its content and relief sought relates to his pretrial detention. At this point, Qazi has
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     litigated his pretrial detention extensively. The Ninth Circuit affirmed this Court’s order
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     of detention on February 12, 2018. United States v. Qazi, No. 17-10478, 2018 WL 841667
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     (9th Cir. 2018).2 Magistrate Judge Leen’s underlying order, ECF No. 325, addressed
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     Qazi’s argument, which he makes again in the instant Motion, regarding the Bail Reform
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     Act of 1984.3 In the order, Magistrate Judge Leen found that his argument had been
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       ECF No. 213.
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       Qazi filed a Petition for Certiorari on July 6, 2018.
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       ECF No. 325 at 15-16.
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                                                                2
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1    addressed and rejected by the only courts of appeal which have considered the issue.4

2    As such, the Court should deny this Motion.

3                                           II.     Conclusion

4              WHEREFORE, after consideration of the included facts, points, authorities,

5    exhibits, and arguments, the United States respectfully requests that this Court DENY

6    Qazi’s Motion to Dismiss for Lack of Subject Matter Jurisdiction [ECF No. 448].

7
               DATED this 12th day of July, 2018.
8
                                             Respectfully submitted,
9
                                             DAYLE ELIESON
10                                           United States Attorney

11                                                      //s//

12                                           ALEXANDRA MICHAEL
                                             PATRICK BURNS
13                                           Assistant United States Attorneys

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         Id.
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1
                                  CERTIFICATE OF SERVICE
2
             I certify that I am an employee of the United States Attorney’s Office. A copy of
3
     the foregoing GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT
4
     QAZI’S     MOTION       TO    DISMISS     FOR     LACK     OF    SUBJECT      MATTER
5
     JURISDICTION [ECF No. 448] was sent to Defendant Qazi via United States mail
6
     addressed to:
7
             Mr. Omar Qazi #49760048
8            NSDC 2190 East Mesquite Avenue
             Pahrump, Nevada, 89060
9
     and on stand-by counsel Telia Williams, Esq., via electronic service by ECF, on July 12,
10
     2018.
11
             DATED this 12th day of July, 2018.
12

13
                                                    / s / Alexandra Michael
                                              ______________________________
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                                              ALEXANDRA MICHAEL
                                              Assistant United States Attorney
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